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LENARD E. SCHWARTZER
2850 S. Jones Blvd., Ste l

Las Vegas, NV 89146

(702) 307-2022

TRUSTEE
UNITED STA'I`ES BANKRUPTCY COURT
DISTRICT OF NEVADA
]n re ) Case No. BK-S 18-17321-BTB
)
CAROL THATCHER ) IN PROCEEDINGS UNDER CHAPTER 7
§
) DOCUMENT IN SUPPORT OF NO ASSET
) REPORT
)
Debtor )
)
)

 

Attached hereto and incorporated herein by reference is a copy of Form l in Support of the

Trustee's No Asset Report filed concurrently herein.

Dated: March 20, 2019 /s/ Lenam' E. Schwarfzer

 

LENARD E. SCHWARTZER

Trustee

 

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FORM l Page No: 1
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Case Namc: THATCl'lER C)‘\ROL l)atc I"ile:l (l] or Converted (c): MM(Q
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